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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                  Case No.:

   NICOLE MANCINI,

           Plaintiff,

   v.

   THE SCHOOL BOARD OF BROWARD
   COUNTY, FLORIDA

           Defendant.
                                              /

                                            COMPLAINT

         Plaintiff Nicole Mancini (“Mancini”) sues The School Board of Broward County, Florida

  (“School Board”), and alleges as follows:

                                   JURISDICTION AND VENUE

         1.       This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and 29

  U.S.C. § 2617. This Court has supplemental jurisdiction over Plaintiff's state law claim pursuant

  to 28 U.S.C. §1367(a) and the principles of pendent jurisdiction.

         2.       This Court has jurisdiction to grant declaratory relief, declare the rights and legal

  relations of the parties, and order further relief pursuant to 28 U.S.C. §§ 2201 and 2202, Art. V, §

  5(b) of the Florida Constitution, and § 119.11 of the Florida Statutes

         3.       At all times material hereto, Mancini was a covered employee under the Family

  and Medical Leave Act, 29 U.S.C. 2601 et. seq (“FMLA”) because the School Board employed

  her for at least 12 months and at least 1,250 hours during the 12-month period prior to her request

  for leave.




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         4.      The School Board is a governmental agency located in Ft. Lauderdale, Florida, and

  is responsible for the administration of the public schools in Broward County, Florida.

         5.      The School Board is a covered employer as defined by FMLA because the School

  Board, separately or collectively, employed over 50 employees in 20 or more workweeks in the

  current or preceding calendar year.

         6.      Venue is proper in this District because the causes of action alleged herein arose

  out of actions or conduct occurring in this District.

         7.      All conditions precedent have been satisfied, performed, or waived including all

  pre-suit notices.

                 FACTUAL ALLEGATIONS PERTAINING TO FMLA CLAIMS
         8.      At all times material hereto, the School Board employed Mancini as the Chief

  Academic Officer (“CAO”).

         9.      In over 23 years of employment, Mancini never received any form of reprimand for

  performance or for failure to comply with any School Board policies, rules, or procedures.

         10.     In over 23 years of employment, Mancini received satisfactory or higher marks on

  her annual performance reviews.

         11.     The School Board demanded maximal output from employees with minimal

  support and created a culture that prioritized non-stop work over physical well-being.

         12.     In October of 2022, Mancini had surgery and went back earlier than she was

  supposed to because of the work the School Board required her to perform.

         13.     Mancini’s relentless work ethic and unwavering commitment to the School Board

  and students, coupled with the lack of adequate resources and support, began to cause severe

  physical manifestations of stress.



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         14.     In January of 2023, Mancini had to be hospitalized because of stress-related blood

  pressure issues.

         15.     Thereafter, Mancini’s doctors informed her that she had two choices: 1) Take time

  off; or 2) Continue working and suffer a heart attack or stroke.

         16.     On March 27, 2023, Mancini requested FMLA leave.

         17.     Interim Superintendent Earlean Smiley (“Smiley”) did not have authority to deny

  Mancini’s FMLA leave, but harbored animosity toward Mancini for taking time off for personal

  health reasons and prioritizing her health over work.

         18.     The School Board approved Mancini’s FMLA leave on April 19, 2023.

         19.     While Mancini was out on FMLA leave, Mancini was repeatedly contacted for

  work-related issues.

         20.     Within a few weeks of her request for FMLA leave, Smiley who had control over

  the terms and conditions of Mancini’s employment, proposed the elimination of Mancini’s position

  from the School Board’s organization chart.

         21.     On May 2, 2023, the School Board voted to reject Smiley’s proposal to eliminate

  Mancini’s position.

         22.     Shortly thereafter, Smiley non-renewed Mancini’s contract as CAO while Mancini

  was out on FMLA leave, effectively terminating Mancini while on FMLA leave.

         23.     Smiley had the authority from the School Board to non-renew Mancini’s

  appointment without approval from the board members.

         24.     Smiley’s decision was not reviewable by the Board and not appealable by Mancini.

         25.     Smiley appointed a less qualified person making the same or more money than

  Mancini to replace her.



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         26.     Mancini was not returned to her position as Chief Academic Officer at the end of

  her FMLA leave and was constructively discharged through the termination of her access

  privileges to multiple platforms and systems.

     FACTUAL ALLEGATIONS PERTAINING TO PUBLIC RECORDS ACT CLAIMS

         27.     This action is to enforce the provisions of Chapter 119 of the Florida Statutes

  (Florida’s “Public Records Act”) and includes a request for the Court to issue a writ of mandamus,

  an injunction, and declaratory relief.

         28.     Defendant is a government agency.

         29.     At all times material to this lawsuit, the School Board was an “agency” of Broward

  County, as that term is defined by § 119.011(2) of the Florida Statutes.

         30.     As an agency of Broward County, the School Board’s records are subject to the

  Public Records Act.

         31.     On June 26, 2023, Mancini’s counsel sent a written public records request via email

  to the School Board’s custodian of records as meant in § 119.011(5) pertaining to her employment

  with the School Board and the FMLA claims raised in this lawsuit.

         32.     The records request asked for “public records” as defined by § 119.011(12) of the

  Florida Statutes.

         33.     The requested public records existed at the time Defendant received the records

  request.

         34.     At all times material to this lawsuit, Mancini has been a “person” “desiring” to

  inspect and/or copy the requested public records as referenced in § 119.07(1)(a).

         35.     Mancini has standing to prosecute this lawsuit.

         36.     Under § 119.07(1)(c) of the Florida Statues, Defendant had a duty to respond to the


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  records request in good faith.

         37.       As of the filing of this lawsuit, Defendant has not produced all of the requested,

  non-exempt public records.

         38.       Florida law holds that an agency has a ministerial duty to make public records

  available in response to a proper public records request.

         39.       At all times material to this lawsuit, Defendant had a ministerial duty to make the

  records requested available to Mancini in a timely fashion.

         40.       The Florida Supreme Court has held that the only delay that is permitted by Chapter

  119 of the Florida Statues in producing requested public records is the limited reasonable time

  allowed for the custodian to retrieve the record and delete those portions of the record the custodian

  asserts are exempt.

         41.       Florida law holds that an agency’s impermissible withholding of records, otherwise

  required to be disclosed under the public records law constitutes, in and of itself, irreparable injury

  to the person making the request.

         42.       Florida law holds that a requestor of public records is irreparably damaged when

  an agency unjustifiably delays in producing the requested public records because the requestor’s

  constitutional and statutory rights to timely access to the requested records have been violated in

  that instance.

         43.       Florida law holds that an agency’s unjustified delay in acknowledging a request and

  producing public records is an unlaw refusal to permit public records to be inspected or copied as

  meant under § 119.12 of the Florida Statutes.

         44.       Florida law holds that a delay in responding to a public records request that is

  caused by an agency’s mistake in responding to the public records request is an unjustified delay.


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         45.     Florida law holds that a delay in responding to a public records request that is

  caused by an agency’s ineptitude in responding to the public records request is unjustified delay.

         46.     As of the date of filing this lawsuit, the limited reasonable time for Defendant to

  retrieve the requested public records and delete those portions of any requested public record that

  the custodian asserts are exempt has elapsed.

         47.     Defendant has had more than a reasonable time to retrieve the requested public

  records, delete those portions of the requested public record that the custodian asserts are exempt,

  and produce the requested public records.

         48.     Defendant’s failure to produce the requested public records, after having had more

  than a reasonable time to retrieve the requested public records and delete those portions of the

  requested public record that the custodian asserts are exempt, is an unjustified delay, bad faith, and

  an unlawful refusal to permit a public record to be inspected or coped in violation of Chapter 119

  of the Florida Statutes.

                                            COUNT I
                                      FMLA INTERFERENCE

         Plaintiff realleges paragraphs 1-26 as though fully set forth herein.

         49.     Mancini exercised her right to 12 work weeks of leave under the FMLA.

         50.     The School Board granted the 12 work weeks of leave she was entitled to under the

  FMLA.

         51.     During the 12-week period of leave, School Board employees harassed and

  attempted to coerce Mancini into working.

         52.     Upon completion of her FMLA leave, Mancini intended to return to the position

  she held prior to her leave.



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         53.      The School Board unlawfully refused to return Mancini to the position she held

  prior to her leave or to an equivalent position.

         54.      The School Board’s conduct was intentional and malicious and was done with

  disregard for Mancini’s emotional well-being.

         55.      The School Board’s violation of the FMLA was willful and in bad faith.

  Alternatively, the School Board acted in reckless disregard for Mancini’s FMLA rights.

         56.      Mancini has suffered and continues to suffer damages proximately caused by the

  School Board’s violation of Mancini’s FMLA rights.

         WHEREFORE Plaintiff requests that the Court enter a judgment in her favor as follows:

               A. Adjudge and decree that the School Board violated 29 USC 2615;

               B. Award damages;

               C. Award interest;

               D. Award Mancini special damages in the form of loss pension contributions and

                  accumulation;

               E. Award Mancini liquidated damages;

               F. Award Mancini attorneys’ fees and costs pursuant to 29 USC 2615; and

               G. Award Mancini any additional relief deemed appropriate by the Court.

                                           COUNT II
                                       FMLA RETALIATION

         Plaintiff realleges paragraphs 1-26 as though fully set forth herein.

         57.      Mancini engaged in protected activity by requesting FMLA leave and exercising

  her rights under the FMLA.

         58.      The School Board, through Smiley, retaliated against Mancini by attempting to

  eliminate her position from the organizational chart, non-renewing her contract, and constructively

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  discharging her from her position at the end of her FMLA leave as opposed to restoring her to her

  position or an equivalent position.

         59.      A causal connection exists between the exercise of Mancini’s rights and the adverse

  employment actions described herein.

         60.      The School Board’s conduct was intentional and malicious and was done with

  disregard for Mancini’s emotional well-being.

         61.      The School Board’s violation of the FMLA was willful and in bad faith.

  Alternatively, the School Board acted in reckless disregard for Mancini’s FMLA rights.

         62.      Mancini has suffered and continues to suffer damages proximately caused by the

  School Board’s violation of Mancini’s FMLA rights.

         WHEREFORE Plaintiff requests that the Court enter a judgment in her favor as follows:

               A. Adjudge and decree that the School Board violated 29 USC 2615;

               B. Award damages;

               C. Award interest;

               D. Award Mancini special damages in the form of loss pension contributions and

                  accumulation;

               E. Award Mancini liquidated damages;

               F. Award Mancini attorneys’ fees and costs pursuant to 29 USC 2615; and

               G. Award Mancini any additional relief deemed appropriate by the Court.

                                       COUNT III
                             PUBLIC RECORDS ACT VIOLATION -
                                   WRIT OF MANDAMUS

         Plaintiff realleges paragraphs 1-7 and 27-48 as though fully set forth herein.

         63.      Mancini had an established legal right to receive a timely response to her public


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  records requests and to be given access to inspect the requested records.

         64.      The School Board’s records custodian had an indisputable ministerial duty under

  Florida law to timely acknowledge Mancini’s requests and to permit the requested inspection.

         65.      Mancini lacks an adequate remedy at law.

         66.      Mancini is entitled to a writ of mandamus that compels Defendant to produce the

  requested public records.

         67.      Mancini has retained the undersigned attorney in this matter and has agreed to pay

  the undersigned’s reasonable attorney’s fees, which are recoverable from Defendant pursuant to §

  119.12 of the Florida Statutes.

          WHEREFORE, Plaintiff Nicole Mancini respectfully requests the following:

               A. Judgement against Defendant finding that Defendant unlawfully refused to permit

                  public records to be inspected or copied because it failed to timely produce the

                  requested public records as required by public records law;

               B. A writ of mandamus requiring a proper response to the records request and

                  requiring the production of the requested public records; and

               C. An award of costs and reasonable attorney’s fees pursuant to § 119.12 of the Florida

                  Statutes, and any other relief as the Court may deem proper.

                                         COUNT IV
                              PUBLIC RECORDS ACT VIOLATION -
                                    INJUNCTIVE RELIEF

         Plaintiff realleges paragraphs 1-7 and 27-48 as though fully set forth herein.

         68.      A clear legal right of Mancini’s has been violated.

         69.      She will suffer irreparable harm if injunctive relief is not granted.

         70.      Mancini lacks an adequate remedy at law.


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             71.      Mancini is entitled to an injunction that requires Defendant to produce all of the

   requested public records and enjoins Defendant from violating the public records law in the future.

             72.      Defendant failed to comply with its ministerial statutory/constitutional duty to

   respond to the records request and produce requested public records in a timely fashion.

             73.      Mancini has retained the undersigned attorney in this matter and has agreed to pay

   the undersigned’s reasonable attorney’s fees, which are recoverable from Defendant pursuant to §

   119.12 of the Florida Statutes.

              WHEREFORE, Plaintiff Nicole Mancini respectfully requests the following:

             A. Judgement against Defendant finding that Defendant unlawfully refused to permit

                   public records to be inspected or copied because it failed to timely produce the

                   requested public records as required by public records law;

             B. An injunction that enjoins Defendant from violating the public records law, as it has

                   done in this case, in the future; and

             C. An award of costs and reasonable attorney’s fees pursuant to § 119.12 of the Florida

                   Statutes, and any other relief as the Court may deem proper.

                                             COUNT V
                                  PUBLIC RECORDS ACT VIOLATION -
                                       DECLARATORY RELIEF

             Plaintiff realleges paragraphs 1-7 and 27-48 as though fully set forth herein.

             74.      Mancini requests a declaration that the School Board has violated the Public

   Records Act and that its failure to comply with its obligations necessitated the filing of the instant

   action.

             75.      There is a bona fide, actual, present practical need for the declaration.

             76.      The declaration deals with a present, ascertained, or ascertainable state of facts or


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   present controversy as to a state of facts.

           77.       Some immunity, power, privilege or right of the complaining party is dependent

   upon the facts or the law applicable to the facts.

           78.       Mancini has an actual, present, adverse and antagonistic interest in the subject

   matter, either in fact or law.

           79.       All antagonistic and adverse interests are before the court by proper process or class

   representation.

           80.       The relief sought is not merely the giving of legal advice by the courts or the answer

   to questions propounded from curiosity.

           81.       Mancini has retained the undersigned attorney in this matter and has agreed to pay

   the undersigned’s reasonable attorney’s fees, which are recoverable from Defendant pursuant to §

   119.12 of the Florida Statutes.

            WHEREFORE, Plaintiff Nicole Mancini respectfully requests the following:

                 A. Judgement against Defendant finding that Defendant unlawfully refused to permit

                     public records to be inspected or copied because it failed to timely produce the

                     requested public records as required by public records law;

                 B. An award of costs and reasonable attorney’s fees pursuant to § 119.12 of the Florida

                     Statutes, and any other relief as the Court may deem proper.

                                     DEMAND FOR TRIAL BY JURY

           Plaintiff Nicole Mancini hereby demands a trial by jury on all issues so triable.




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                                             Respectfully submitted,

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